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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA


v.                                               CRIMINAL ACTION NO.
                                                 3:04CR00138 (JCH)
LEE A. MITCHELL,
       Defendant.
                                                 MARCH 31, 2008


                        AMENDED ORDER TO SHOW CAUSE

       In light of a projected release date of May 5, 2008, if the defendant were

resentenced as suggested in the Probation Officer’s Supplemental Presentence Report,

to which government concurred in its Notice, the government must file any reply to

defendant’s filing (due on April 4, 2008) no later than April 8, 2008.



SO ORDERED.

       Dated at Bridgeport, Connecticut this 31st day of March, 2008.




                                            /s/ Janet C. Hall
                                          Janet C. Hall
                                          United States District Court
